Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 1 of 19




                   Exhibit B
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 2 of 19




                                                                                  July 1, 2020

                        FOIA/PA Mail Referral Unit
                        Department of Justice
                        Room 115
                        LOC Building
                        Washington, DC 20530-0001
                        SENT VIA EMAIL: MRUFOIA.Requests@usdoj.gov

                        Re:       Request Under Freedom of Information Act Concerning COVID-
National Office                   Related Risk, Modeling and Infection Spread in Bureau of Prisons
125 Broad Street,                 Detention Facilities (Expedited Processing & Fee Waiver Requested)
18th Floor
New York, NY 10004
Tel: (212) 549-2500
                        To Whom It May Concern:
Fax: (212) 549-2564
aclu.org                        The American Civil Liberties Union and the American Civil Liberties
                        Union Foundation (together, the “ACLU”) 1 submit this Freedom of Information
Susan N. Herman
President
                        Act (“FOIA”) request (the “Request”) for records pertaining to the Trump
                        Administration’s response to the risk of COVID-19 infecting and killing people
Anthony D. Romero       living and working in the detention facilities it administers throughout the
Executive Director      United States, as well as those living in communities containing federal
Richard Zacks           detention centers.
Treasurer
                                                                    I. Background

                               COVID-19 is a disease caused by a new strain of coronavirus that began
                        spreading in December 2019. 2 The World Health Organization (WHO) has
                        declared the novel coronavirus outbreak a pandemic. 3




                              1
                               The American Civil Liberties Union Foundation is a 26 U.S.C. § 501(c)(3) organization
                        that provides legal representation free of charge to individuals and organizations in civil rights
                        and civil liberties cases, and educates the public about civil rights and civil liberties issues across
                        the country. The American Civil Liberties Union is a separate non-profit, 26 U.S.C. § 501(c)(4)
                        membership organization that educates the public about the civil liberties implications of
                        pending and proposed state and federal legislation, provides analysis of pending and proposed
                        legislation, directly lobbies legislators, and mobilizes its members to lobby their legislators.
                             2
                               World Health Org., Q&A on Coronaviruses (COVID-19) (Mar. 9, 2020),
                        https://www.who.int/news-room/qa-detail/q-a-coronaviruses.
                             3
                               Dr. Tedros Adhanom Ghebreyesus, Dir. Gen., World Health Org., Opening Remarks at the
                        Media Briefing on COVID-19 (Mar. 11, 2020).
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 3 of 19




                                The first known case in the United States of COVID-19 was confirmed
                        in the state of Washington on January 20, 2020. 4 The White House Coronavirus
                        Task Force was established on January 29. 5 On January 31, the Trump
                        Administration declared a public health emergency. 6

                                From the outset of the COVID-19 crisis, it was clear that the impact on
                        people living and working in Federal detention facilities was potentially
                        catastrophic. As of February 29, 2020, at the peak of the outbreak in Wuhan,
                        China, over half of all new infection cases were incarcerated people. 7 The
                        ACLU was sounding the alarm by early March. 8 Congressional leaders quickly
                        sought clarity - from March 5 through March 12, 15 U.S. Senators and one U.S.
                        Representative wrote letters to the Bureau of Prisons (BOP) and the U.S.
                        Attorney General requesting descriptions on their preparation for and
                        precautions against the spread of COVID-19 in federal facilities. 9 On March 18,
                        the American Federation of Government Employees (AFGE)—the union
AMERICAN CIVIL
LIBERTIES UNION         representing federal corrections officers—chastised the government for its
FOUNDATION              “piecemeal steps” to address union members’ working conditions. 10 On March
                        15, the WHO warned that “enhanced consideration should be given to resorting


                            4
                               Holshue ML, DeBolt C, Lindquist S, Lofy KH, et al. (March 2020). "First Case of 2019
                        Novel Coronavirus in the United States". N. Engl. J. Med. 382 (10): 929–936.
                             5
                               Statement from the Press Secretary Regarding the President's Coronavirus Task
                        Force" (Press release). White House. January 29, 2020. Archived from the original on March 3,
                        2020. Retrieved March 15, 2020.
                        https://web.archive.org/web/20200303171648/https:/www.whitehouse.gov/briefings-
                        statements/statement-press-secretary-regarding-presidents-coronavirus-task-force.
                             6
                               Proclamation on Suspension of Entry as Immigrants and Nonimmigrants of Persons who
                        Pose a Risk of Transmitting 2019 Novel Coronavirus". White House. Archived from the original
                        on February 6, 2020. Retrieved March 22, 2020, available at
                        https://web.archive.org/web/20200206080550/https:/www.whitehouse.gov/presidential-
                        actions/proclamation-suspension-entry-immigrants-nonimmigrants-persons-pose-risk-
                        transmitting-2019-novel-coronavirus.
                             7
                               Zi Yang, Cracks in the System: COVID-19 in Chinese Prisons, THE DIPLOMAT (March
                        9, 2020), available at https://thediplomat.com/2020/03/cracks-in-the-system-covid-19-in-
                        chinese-prisons.
                             8
                               Maria Morris, ACLU News and Commentary (March 6, 2020), available at
                        https://www.aclu.org/news/prisoners-rights/are-our-prisons-and-jails-ready-for-covid-19/
                             9
                               Letter to Michael Carvajal, BOP Director, from Sen. Kamala Harris (Mar. 5, 2020),
                        available at
                        https://www.harris.senate.gov/imo/media/doc/Letter%20to%20BOP%20Director%20Carvajal.p
                        df; Letter to Michael Carvajal, BOP Director, from Sen. Elizabeth Warren, et al (Mar. 9, 2020),
                        available at https://www.warren.senate.gov/imo/media/doc/2020-03-
                        09%20Senator%20Warren%20Letter%20to%20BOP%20re%20Coronavirus.pdf; Letter to
                        Attorney General William Barr from U.S. Rep. Jerrold Nadler (Mar. 12, 2020), available at
                        https://judiciary.house.gov/uploadedfiles/2020-03-12_letter_to_ag_barr_re_covid-19.pdf..
                             10
                                Press Release, AFGE, Administration Finally Taking Coronavirus Threat Seriously with
                        Latest Guidance but More Must be Done to Protect Federal Workers and Citizens, Union Says
                        (March 18, 2020), available at https://www.afge.org/publication/administration-finally-taking-
                        coronavirus-threat-seriously-with-latest-guidance-but-more-must-be-done-to-protect-federal-
                        workers-and-citizens-union-says.



                                                                         2
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 4 of 19




                        to non-custodial measures at all stages of the administration of criminal justice,
                        including at the pre-trial, trial and sentencing as well as post-sentencing
                        stages.” 11 And even prior to COVID-19, the Department of Justice (DOJ) itself
                        regularly published data on the high rates of death from respiratory disease in
                        state and federal detention. 12

                                Weeks after the first reported COVID-19 case in the United States, on
                        March 13, 2020, the BOP released a COVID-19 action plan that largely focused
                        on restricting access to prisons and limiting movement of incarcerated persons.
                        In view of the CDC Guidelines that the best practice to avoid exposure to the
                        virus is to maintaining a distance of 6 feet from others, 13 on March 18, the
                        ACLU sent a letter to the BOP seeking release of people at risk of serious illness
                        and death from COVID-19, and a reduction of intake to reduce overcrowding.
                        The BOP updated its action plan on March 19, indicating that incarcerated
                        persons will continue to be moved under certain limited conditions. 14
AMERICAN CIVIL
LIBERTIES UNION
FOUNDATION                      On March 21, 2020, the BOP reported its first confirmed case of
                        COVID-19 at the Metropolitan Detention Center in Brooklyn. 15 Within days, the
                        COVID-19 infection rate increased nine-fold, according to BOP’s accounting. 16
                        Seven days after this first confirmed case, the BOP reported its first death due to
                        COVID-19 at the Oakdale Federal Correctional Institution in Oakdale,
                        Louisiana. Patrick Jones was a 49-year-old who was serving a 27-year sentence
                        for a drug offense in a low security facility, and had long-term, pre-existing
                        medical conditions placing him at greater risk of contracting serious illness from
                        COVID-19. 17



                            11
                                World Health Organization, Regional Office for Europe, Preparedness, prevention and
                        control of COVID-19 in prisons and other places of detention: Interim guidance (Mar. 15, 2020),
                        http://www.euro.who.int/__data/assets/pdf_file/0019/434026/Preparedness-prevention-and-
                        control-of-COVID-19-in-prisons.pdf.
                             12
                                Bureau of Justice Statistics, Mortality in State and Federal Prisons, 2001-2016 –
                        Statistical Tables, February 2020, available at
                        https://www.bjs.gov/content/pub/pdf/msfp0116st.pdf.
                             13
                                Centers for Disease Control and Prevention, How to Protect Yourself & Others,
                             https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html.
                             14
                                Congressional Research Service, Federal Prisoners and COVID-19: Background and
                        Authorities to Grant Release (Apr. 23, 2020), available at
                        https://crsreports.congress.gov/product/pdf/R/R46297.
                             15
                                Michael Balsamo, AP Exclusive: 1st Fed Inmate Tests Positive for Coronavirus, NBC
                        NEW YORK (March 21, 2020), available at https://www.nbcnewyork.com/news/local/ap-
                        exclusive-1st-fed-inmate-tests-positive-for-coronavirus/2338122.
                             16
                                Walter Pavlo, Bureau Of Prisons COVID-19 Outbreak Growth Could Overwhelm
                        Agency, FORBES (Mar. 20, 2020), available at
                        https://www.forbes.com/sites/walterpavlo/2020/03/30/bureau-of-prisons-covid-19-outbreak-
                        growth-could-overwhelm-agency/#381490735473.
                             17
                                Federal Bureau of Prisons, Press Release, Inmate Death at FCI Oakdale I (Mar. 28, 2020),
                        available at https://www.bop.gov/resources/news/pdfs/20200328_press_release_oak_death.pdf.



                                                                         3
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 5 of 19




                                One day before passage of the CARES ACT on March 27, 2020, U.S.
                        Attorney General Barr, (AG Barr), directed the BOP to utilize home
                        confinement to decrease the risks to the health of certain incarcerated persons.
                        This directive included criteria that narrowed the number of people eligible for
                        home confinement, specifically, use of the PATTERN assessment tool. On
                        March 31, the BOP announced that all incarcerated persons would be placed on
                        a 14-day lock down. 18

                                 On April 3, 2020, AG Barr issued a second directive to the BOP to
                        instruct it to move with dispatch to move vulnerable populations and to give
                        priority consideration to release persons from institutions where the virus had
                        already spread to dozens of staff and incarcerated persons, resulting in the death
                        of five incarcerated persons and one staff member being placed on a ventilator. 19
                        On the same day, the ACLU joined a coalition of advocates in an open letter to
                        AG Barr asking that he rescind his March 26 memo highlighting the problematic
AMERICAN CIVIL
LIBERTIES UNION
                        use of PATTERN because of the likelihood of perpetuating racial disparity in
FOUNDATION              decision-making. 20 Two days later, the ACLU sued the federal prison at
                        Oakdale, Louisiana after the fifth reported death at that facility, and after
                        Oakdale had failed to release any incarcerated persons despite the outbreak and
                        the Attorney General’s memos. 21 Oakdale has had two more deaths and many
                        more infections of incarcerated people and corrections officers since then, but
                        still has not released a single incarcerated person voluntarily.

                               On April 6, 2020, the Attorney General issued a memorandum to the
                        U.S. Attorney’s Offices and the heads of components of the DOJ to provide
                        guidance on when DOJ should seek pretrial detention for defendants. 22 The
                        Attorney General noted that a defendant’s physical and mental condition can be
                        considered when making determinations about pretrial detention under the Bail
                        Reform Act and prosecutors should consider the “medical risks associated with


                            18
                                Anastasia Tsioulcas, Prisoners Across U.S. Will Be Confined For 14 Days To Cut
                        Coronavirus Spread, NPR (Mar. 31, 2020), available at
                        https://www.npr.org/sections/coronavirus-live-updates/2020/03/31/824917318/prisoners-across-
                        country-will-be-confined-for-14-days-to-cut-coronavirus-spread.
                             19
                                Walter Pavlo, AG William Barr’s Memo To Bureau Of Prisons: ‘Time Is Of The
                        Essence’, FORBES (Apr. 4, 2020), available at
                        https://www.forbes.com/sites/walterpavlo/2020/04/04/ag-william-barrs-new-memo-to-bureau-
                        of-prisons-time-is-of-the-essence/#42a71b5e6805.
                             20
                                Amer. Civ. Lib. Union, COVID-19 Model Finds Nearly 100,000 More Deaths Than
                        Current Estimates, Due to Failures to Reduce Jails (Apr. 2020), available at
                        https://www.aclu.org/report/flattening-curve-why-reducing-jail-populations-key-beating-covid-
                        19.
                             21
                                David Shortell, ACLU suing for release of inmates at Louisiana facility where five
                        prisoners have died, CNN (April 6, 2020), available at
                        https://www.cnn.com/2020/04/06/politics/aclu-prison-deaths-louisiana/index.html.
                             22
                                Memorandum from Attorney General William Barr to All Heads of Department
                        Components and All United States Attorneys (Apr. 6, 2020), available at
                        https://www.justice.gov/file/1266901/download.



                                                                        4
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 6 of 19




                        individuals being remanded into federal custody during the COVID-19
                        pandemic.”

                                On April 15, 2020, the Inspector General announced remote inspections
                        of COVID-impacted BOP facilities to ensure that they are taking proper
                        precautions against the spread of the coronavirus. The announcement came after
                        repeated complaints by staff and incarcerated persons over unsanitary conditions
                        inside many facilities, the lack of social distancing and problems getting
                        protective equipment such as masks. 23 Separately, a DOJ team reporting to AG
                        Barr began to conduct a review of conditions at coronavirus-plagued federal
                        prisons in in Louisiana, Ohio North Carolina, and California. 24 The team met
                        with local health officials from surrounding communities in each of the
                        locations to assess the broader impact of the outbreaks.

                                On April 16, 2020, the Council of Prison Locals C-33, a division of the
AMERICAN CIVIL          American Federation of Government Employees, filed a grievance within the
LIBERTIES UNION
FOUNDATION              Justice Department on behalf of the 122 Federal Bureau of Prisons institutions
                        nationwide. 25 The union said that starting on or about March 13, BOP
                        unilaterally implemented several substantive changes in conditions of
                        employment, resulting in nationwide staff being unnecessarily exposed to the
                        deadly virus including, but not limited to: continuing to accept people from
                        outside facilities without quarantining them beforehand; moving people from
                        high risk areas to low risk areas without proper screening or personal protective
                        gear; waiting until March 31 to initiate a modified lockdown; ordering staff who
                        have been exposed to the coronavirus to come back to work without a 14-day
                        quarantine, as recommended by the CDC; and failing to issue proper personal
                        protective gear.

                               On April 20, 2020, incarcerated persons who the BOP had previously
                        approved for home confinement under the previous DOJ directives were
                        informed they no longer met the requirements to qualify for home
                        confinement. 26 Before then, these incarcerated persons were informed that they

                            23
                                Sarah Lynch, U.S. Justice Department watchdog to inspect federal prisons' handling of
                        coronavirus, REUTERS (Apr. 15, 2020), available at https://www.reuters.com/article/us-health-
                        coronavirus-usa-prisons/u-s-justice-department-watchdog-to-inspect-federal-prisons-handling-
                        of-coronavirus-idUSKCN21X2Q0.
                             24
                                Kevin Johnson, DOJ Team Reviewing Conditions at Virus-Plagued Federal Prisons; IG
                        Leading Separate Probe, USA Today (Apr. 16, 2020), available at
                        https://www.usatoday.com/story/news/politics/2020/04/16/doj-launches-review-prison-virus-
                        deaths-infections-mount/5144320002/.
                             25
                                Formal Grievance Form from Christopher Wade, Chief Labor Relations Office, to US
                        DOJ (Apr. 16, 2020), available at
                        https://cdn.govexec.com/media/gbc/docs/pdfs_edit/042020cb1.pdf.
                             26
                                Walter Pavlo, Lack Of Direction From Bureau Of Prisons Showing In Federal Court,
                        FORBES (Apr. 21, 2020), available at
                        https://www.forbes.com/sites/walterpavlo/2020/04/21/lack-of-direction-from-bureau-of-prisons-
                        showing-in-federal-court/#32e338a611fe; see also Luke Barr & Alexander Mallin, DOJ clarifies



                                                                        5
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 7 of 19




                        were going to be put into an isolation quarantine in advance of release home,
                        and their families confirmed their residences with Probation Officers. Most were
                        given a date for when they would be released, until they were abruptly told that
                        the DOJ had changed its guidance, requiring them to have served 50 percent of
                        their prison terms. 27

                                On April 21, 2020, M.D. Carvajal, the BOP Director, sent a
                        memorandum to families and friends of people incarcerated in federal facilities
                        outlining COVID-19 safeguards implemented within BOP. 28 The memorandum
                        described staff screenings and temperature checks when entering facilities,
                        securing people in their cells or assigned quarters, serving meals within units,
                        and aggressive screenings for suitability for transfers to home confinement
                        starting with those incarcerated at facilities with the greatest number of COVID-
                        19 cases. It did not acknowledge the reversed home confinement decisions from
                        the previous day, nor the reported new “50 percent” requirement.
AMERICAN CIVIL
LIBERTIES UNION
FOUNDATION                      These mixed signals created immediate confusion over how the BOP is
                        applying DOJ’s guidance. As a result, on April, 21, 2020, Sen. Chuck Grassley
                        and Sen. Dick Durbin asked the Department of Justice’s Inspector General to
                        investigate whether the BOP is quickly transferring all vulnerable incarcerated
                        people to home confinement, and whether the department has been transparent
                        and accurate when communicating with Congress and the public. 29 Earlier that
                        month, Rep. Nadler and Rep. Bass requested the BOP hold regular public
                        briefings on this issue, to no avail. 30 On April 22, reporting indicated that the
                        BOP removed home confinement FAQ information from its website - a resource
                        families and friends were relying on to understand the process BOP is
                        implementing in determining who may receive transfers to home confinement. 31


                        federal inmate release guidance after confusion plagues process (Apr. 24, 2020), available at
                        https://abcnews.go.com/US/doj-clarifies-federal-inmate-release-guidance-confusion-
                        plagues/story?id=70318981.
                             27
                                Walter Pavlo, Bureau Of Prisons Removes Webpage On COVID-19 FAQ Home
                        Confinement, FORBES (Apr. 22, 2020), available at
                        https://www.forbes.com/sites/walterpavlo/2020/04/22/bureau-of-prisons-removes-webpage-on-
                        covid-19-faq-home-confinement/#6eb1a5ee212e.
                             28
                                Memorandum to Inmate Families and Friends from M.D. Carvajal, BOP Director,
                        COVID-19 Safeguards (Apr. 21, 2020), available at
                        https://www.bop.gov/resources/news/pdfs/202004211_memo_to_inmate_families_and_friends.p
                        df.
                             29
                                Letter to Michael Horowitz, DOJ Inspector General, from Senators Richard Durbin &
                        Chuck Grassley (Apr. 21, 2020), available at
                        https://www.durbin.senate.gov/imo/media/doc/DOJ%20IG%20COVID-
                        19%20BOP%20letter%20final%20signed.pdf.
                             30
                                See Letter to Attorney General William Barr from Rep. Nadler & Rep. Bass (Apr. 10,
                        2020), available at https://judiciary.house.gov/uploadedfiles/2020-04-
                        10_letter_to_doj_on_covid-19.pdf.
                             31
                                Walter Pavlo, Bureau of Prisons Removes Webpage on COVID-19 FAQ Home
                        Confinement, FORBES (Apr. 22, 2020), available at



                                                                        6
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 8 of 19




                                On April 23, 2020, Andre Matevousian, the Acting Assistant Director of
                        the BOP Correctional Programs Division, and Hugh Hurwitz, the Assistant
                        Director of the BOP Reentry Services Division issued a memorandum to Chief
                        Executive Officers rescinding AG Barr’s April 3, 2020 directive, and replacing
                        it with new guidance. 32 The new guidance required for home confinement that
                        people have either (1) served 50 percent or more of their sentences or (2) have
                        18 months or less remaining in their sentences and have served 25 percent or
                        more of their sentences, in addition to the prior criteria. It noted that these
                        priority factors are subject to deviation and revision at the BOP’s discretion.

                               As of June 30, 2020, the BOP has reported 1,442 COVID-19 positive
                        incarcerated people and 143 staff members. There have been 89 incarcerated
                        persons’ deaths. 33 Unfortunately, BOP’s reports are likely an undercount. 34

                               Despite these harrowing numbers, DOJ and BOP’s efforts to protect
AMERICAN CIVIL          people living and working under their charge has been sluggish, contradictory,
LIBERTIES UNION
FOUNDATION              and insufficient to the moment. It has also lacked the transparency required of
                        our democracy. Accordingly, we submit the following requests.


                                                              II. Definitions

                                The term “DETENTION FACILITIES” means all detention facilities
                        administered by or that contracted with DOJ, BOP, or United States Marshals
                        Service (USMS), or other United States agency including but not limited to
                        pretrial facilities, prisons, BOP-run medical facilities, private contract facilities,
                        and/or state and local facilities that contracted with USMS.

                                The term “OTHER CUSTODIAL SETTING” means all settings outside
                        Detention Facilities that still constitute DOJ, BOP, USMS custody, including
                        but not limited to residential reentry centers or halfway houses, home
                        confinement, or hospitalization.

                               The term “GRIEVANCES” means communications of any kind from
                        people incarcerated in Federal Detention Facilities to the staff of Federal
                        Detention Facilities administered by DOJ, BOP, or USMS or other United States


                        https://www.forbes.com/sites/walterpavlo/2020/04/22/bureau-of-prisons-removes-webpage-on-
                        covid-19-faq-home-confinement/#31d98eda212e.
                             32
                                Memorandum to Correctional Program Administrators from David Brewer, Acting Senior
                        Deputy Assistant Director, Furlough and Home Confinement Additional Guidance, available at
                        https://prisonology.com/wp-content/uploads/2020/04/COVID-19-Home-confinement-additional-
                        guidance.pdf.
                             33
                                Federal Bureau of Prisons, COVID-19 Coronavirus, https://www.bop.gov/coronavirus.
                             34
                                Walter Pavlo, Bureau Of Prisons Underreporting COVID-19 Outbreaks In Prison,
                        FORBES (Apr. 1, 2020), available at
                        https://www.forbes.com/sites/walterpavlo/2020/04/01/bureau-of-prisons-underreporting-
                        outbreaks-in-prison/#6a3bbff97ba3.

                                                                      7
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 9 of 19




                        agency including but not limited to administrative remedies (copouts, BP8s,
                        BP9s, BP10s, etc.), Request-to-Staff forms (BP-A0148), other submissions
                        through the Administrative Remedy Program (ARP), and emails filed by people
                        incarcerated in Detention Facilities.

                                The term “COVID-19” means the novel coronavirus disease that
                        appeared in 2019, including both the novel coronavirus, the disease caused by
                        that virus, and any terms commonly used to describe the current public health
                        situation surrounding the disease. The term “COVID-19” should also be
                        construed to include all the other commonly understood iterations of the term,
                        including but not limited to Covid, COVID, COVID19, COVID2019, SARS-
                        nCoV-2, etc.

                                The term “COMMUNICATIONS” means any transmittal of information
                        from one person or entity to another by any means, including letters,
AMERICAN CIVIL
LIBERTIES UNION         correspondence, notes, memoranda, records, reports, papers, facsimiles,
FOUNDATION              electronic mail (whether to, from, copied or blind copied), electronic mail
                        generated from a hand held personal device including a Blackberry or iPhone,
                        instant messaging, electronic mail generated from business or personal email
                        accounts, internet relay chat, news group, group or collaboration servers,
                        electronic bulletin boards, electronic discussion boards, dictation tapes, video
                        recordings, audio recordings, digital recordings, memoranda, telegrams,
                        telecopies and telexes, teleconference, collaboration servers (including share
                        point servers), web-based or software virtual meetings including Web-X and any
                        other meeting software and share point servers, and oral contact such as face-to-
                        face discussions or meetings, telephone conversations, and voicemail messages.

                                The term “DOCUMENTS” has the same scope used in Rule 34(a)(1) of
                        the Federal Rules of Civil Procedure and shall encompass every writing or
                        record of every type and description and every tangible thing that is or has been
                        in the possession, custody, or control of the federal agency or agencies that are
                        the subject of this request and their employees, to which they have access, or of
                        which they have knowledge, including, but not limited to, newspaper articles,
                        magazine articles, news articles, correspondence, letters, contracts, files,
                        electronic mail, memoranda, stenographic notes, handwritten notes, drafts,
                        studies, publications, books, pamphlets, catalogs, purchase orders, receipts,
                        advertisements, direct mail solicitations, point-of-sale and point-of-purchase
                        materials, notebooks, diaries, models, devices, pictures, photographs, films,
                        audiotapes, videotapes, computer records, voice recordings, maps, reports,
                        surveys, minutes, data compilations, and statistical compilations, regardless of
                        whether a particular DOCUMENT is privileged or confidential, and regardless
                        of the form of storage (including, but not limited to, paper, microfiche, magnetic
                        tape, magnetic disk (hard disk or floppy disk), CD-ROM, DVD, optical disk, or
                        electronic storage device).

                                                      III. Requested Records


                                                                  8
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 10 of 19




                                The ACLU seeks the release of all the following information, dated
                        November 1, 2019 to the present unless otherwise noted, in the custody or
                        control of the DOJ that are the subject of this request:

                               1. All communications and documents discussing actions to reduce the
                                  risk of COVID-19 for people living and working in Detention
                                  Facilities and the likely outcomes of those actions;

                               2. All communications and documents related to, estimating, or
                                  predicting COVID-19 testing, infection, and mortality among people
                                  living and working in Detention Facilities;

                               3. All communications and documents regarding suspected or
                                  confirmed COVID-19-related exposures, infections, and deaths
AMERICAN CIVIL
LIBERTIES UNION                   among people living and working in Detention Facilities;
FOUNDATION

                               4. All communications and documents regarding the risk of spreading
                                  COVID-19 to the communities surrounding Detention Facilities via
                                  movement of staff, private contractors, visitors, incarcerated people,
                                  and others into, out of, and between those facilities;

                               5. All communications and documents between or among Detention
                                  Facility employees, including executive staff, supervisors, and staff,
                                  regarding employees’ access to hygiene, access to protective
                                  equipment, social distancing or lack thereof, or other risks of
                                  employee exposure to COVID-19 within Detention Facilities;

                               6. All communications and documents regarding COVID-19-related
                                  Grievances, including but not limited to those discussing access to
                                  hygiene, protective equipment, social distancing or lack thereof, or
                                  other risks of exposure to COVID-19 within Federal Detention
                                  facilities, and including but not limited to communications and
                                  documents regarding how Detention Facility employees should
                                  respond to Grievances in light of changing USMS, DOJ, and BOP
                                  guidance;

                               7. All communications and documents regarding grants or training to
                                  reduce the risk of COVID-19 for people living and working in
                                  Detention Facilities;

                               8. All communications and documents dated January 1, 2016 to the
                                  present regarding planned responses in the event of a potential
                                  infectious disease outbreak within Detention Facilities, including but
                                  not limited to an outbreak of COVID-19;



                                                                 9
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 11 of 19




                                 9. All communications and documents reflecting the models or
                                    algorithms used to estimate or predict COVID-19 infection rates and
                                    likely mortality throughout the country, including whether any
                                    models or algorithms took into account the spread of COVID inside
                                    and through Detention Facilities;

                                 10. All communications and documents reflecting USMS’s, BOP’s, and
                                     DOJ’s assessment of social distancing inside Detention Facilities,
                                     including but not limited to discussions regarding the importance of
                                     social distancing or the number of incarcerated people who would
                                     have to be transferred outside Detention Facilities to ensure social
                                     distancing inside them;

                                 11. All communications and documents regarding COVID-19 testing
                                     within Detention Facilities by BOP, USMS, CDC, or any other
AMERICAN CIVIL
LIBERTIES UNION                      federal agency, including but not limited to the number of tests
FOUNDATION                           administered to both staff and incarcerated people, the number
                                     projected to be administered to both staff and incarcerated people
                                     going forward, any plans to publicly report the results of those tests,
                                     the frequency with which test results will be reported publicly, and
                                     the timeline for administering those tests;

                                 12. All communications and documents regarding Congressional or
                                     state-based inquiries into COVID-19-related issues within Detention
                                     Facilities, including but not limited to responses provided thereto;

                                 13. All communications and documents containing or regarding
                                     guidance on transfer of people incarcerated at Detention Facilities to
                                     Other Custodial Settings, or release from Detention Facilities to non-
                                     custodial settings, due to COVID-19, including but not limited to:

                                     a. Determination of which people incarcerated are eligible for and
                                        will ultimately be cleared for transfer or release, including but not
                                        limited to determination of which people incarcerated are
                                        vulnerable to COVID-19 contraction on the basis of health or
                                        age;

                                     b. Creation of and changes to the criteria used to determine which
                                        eligible people will ultimately be cleared for transfer or release, 35
                                        including but not limited to Attorney General Barr’s March 26



                            35
                               For example, in BOP’s April 10, 2020 Declaration of Juan Segovia, submitted in the
                        Oakdale litigation, Mr. Segovia asserted that an incarcerated person was not required to have
                        completed 50% of their sentence to be considered for transfer. On April 20, 2020, BOP
                        reinstated that criterion.

                                                                         10
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 12 of 19




                                       and April 3, 2020 memoranda, and BOP’s April 21, 2020
                                       memoranda;

                                   c. How DOJ, USMS, or BOP determined, quantified, or measured
                                      how denying transfer or release based on these criteria would
                                      benefit public safety more than transferring or releasing
                                      incarcerated persons to Other Custodial Settings or non-custodial
                                      settings to avoid harm to those persons, to Detention Facility
                                      employees, and/or to people living in communities near
                                      Detention Facilities;

                                   d. Guidance provided to United States Attorneys and Assistant
                                      United States Attorneys in granting or opposing compassionate
                                      release and other motions for reduced sentences based in whole
                                      or in part on COVID-19.
AMERICAN CIVIL
LIBERTIES UNION
FOUNDATION
                                With respect to the form of production, see 5 U.S.C. § 552(a)(3)(B), the
                        ACLU requests that responsive electronic records be provided electronically in
                        their native file format, if possible. Alternatively, the ACLU requests that the
                        records be provided electronically in a text-searchable, static-image format
                        (PDF), in the best image quality in the agency’s possession, and that the records
                        be provided in separate, Bates-stamped files.

                                             IV. Application for Expedited Processing

                                 The ACLU requests expedited processing pursuant to 5 U.S.C.
                        § 552(a)(6)(E). There is a “compelling need” for these records, as defined in the
                        statute, because the information requested is “urgen[tly]” needed by an
                        organization primarily engaged in disseminating information “to inform the
                        public concerning actual or alleged Federal Government activity.” 5
                        U.S.C. § 552(a)(6)(E)(v)(II).

                        A.     The ACLU is an organization primarily engaged in disseminating
                               information in order to inform the public about actual or alleged
                               government activity.

                                The ACLU is “primarily engaged in disseminating information” within
                        the meaning of the statute. See id. Obtaining information about government
                        activity, analyzing that information, and widely publishing and disseminating it
                        to the press and public are critical and substantial components of the ACLU’s
                        work and are among its primary activities. See ACLU v. Dep’t of Justice, 321 F.
                        Supp. 2d 24, 29 n.5 (D.D.C. 2004) (finding non-profit public interest group that
                        “gathers information of potential interest to a segment of the public, uses its
                        editorial skills to turn the raw material into a distinct work, and distributes that




                                                                   11
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 13 of 19




                        work to an audience” to be “primarily engaged in disseminating
                        information”). 36

                                The ACLU regularly publishes STAND, a print magazine that reports on
                        and analyzes civil liberties-related current events. The magazine is disseminated
                        to over 900,000 people. The ACLU also publishes regular updates and alerts via
                        email to over 3.1 million subscribers (both ACLU members and non-members).
                        These updates are additionally broadcast to over 4 million social media
                        followers. The magazine as well as the email and social-media alerts often
                        include descriptions and analysis of information obtained through FOIA
                        requests.

                              The ACLU also regularly issues press releases to call attention to
                        documents obtained through FOIA requests, as well as other breaking news, 37
AMERICAN CIVIL
LIBERTIES UNION
                            36
FOUNDATION                      Courts have found that the ACLU as well as other organizations with similar missions
                        that engage in information-dissemination activities similar to the ACLU are “primarily engaged
                        in disseminating information.” See, e.g., Leadership Conference on Civil Rights v. Gonzales, 404
                        F. Supp. 2d 246, 260 (D.D.C. 2005); ACLU, 321 F. Supp. 2d at 29 n.5; Elec. Privacy Info. Ctr. v.
                        DOD, 241 F. Supp. 2d 5, 11 (D.D.C. 2003).
                             37
                                See, e.g., Press Release, ACLU, Federal Court Permanently Blocks Billions of Dollars in
                        Border Wall Construction (June 28, 2019), https://www.aclu.org/press-releases/federal-court-
                        permanently-blocks-billions-dollars-border-wall-construction; Press Release, ACLU, New
                        Documents Reveal NSA Improperly Collected Americans’ Call Records Yet Again (June 26,
                        2019), https://www.aclu.org/press-releases/new-documents-reveal-nsa-improperly-collected-
                        americans-call-records-yet-again; Press Release, ACLU, ACLU and Center for Media Justice
                        Sue FBI for Records on Surveillance of Black Activists (Mar. 21, 2019),
                        https://www.aclu.org/press-releases/aclu-and-center-media-justice-sue-fbi-records-surveillance-
                        black-activists; Press Release, ACLU, ACLU, Privacy International Demand Government
                        Disclose Nature and Extent of Hacking Activities (Dec. 21, 2018), https://www.aclu.org/press-
                        releases/aclu-privacy-international-demand-government-disclose-nature-and-extent-hacking;
                        Press Release, ACLU, New Documents Reveal Government Plans to Spy on Keystone XL
                        Protesters (Sept. 4, 2018), https://www.aclu.org/news/new-documents-reveal-government-plans-
                        spy-keystone-xl-protesters; Press Release, ACLU, ACLU Obtains Documents Showing
                        Widespread Abuse of Child Immigrants in U.S. Custody (May 22, 2018),
                        https://www.aclu.org/news/aclu-obtains-documents-showing-widespread-abuse-child-
                        immigrants-us-custody; Press Release, ACLU, ACLU Demands CIA Records on Campaign
                        Supporting Haspel Nomination (May 4, 2018), https://www.aclu.org/news/aclu-demands-cia-
                        records-campaign-supporting-haspel-nomination; Press Release, ACLU, Advocates File FOIA
                        Request For ICE Documents on Detention of Pregnant Women (May 3, 2018), https://
                        www.aclu.org/news/advocates-file-foia-request-ice-documents-detention-pregnant-women;
                        Press Release, ACLU, Civil Rights Organizations Demand Police Reform Documents from
                        Justice Department (Jan. 4, 2018), https://www.aclu.org/news/civil-rights-organizations-
                        demand-police-reform-documents-justice-department; Press Release, ACLU, ACLU Files
                        Lawsuits Demanding Local Documents on Implementation of Muslim Ban (Apr. 12, 2017),
                        https://www.aclu.org/news/aclu-files-lawsuits-demanding-local-documents-implementation-
                        trump-muslim-ban; Press Release, ACLU, U.S. Releases Drone Strike ‘Playbook’ in Response
                        to ACLU Lawsuit (Aug. 6, 2016), https://www.aclu.org/news/us-releases-drone-strike-playbook-
                        response-aclu-lawsuit; Press Release, ACLU, Secret Documents Describe Graphic Abuse and
                        Admit Mistakes (June 14, 2016), https://www.aclu.org/news/cia-releases-dozens-torture-
                        documents-response-aclu-lawsuit; Press Release, ACLU, ACLU Sues for Bureau of Prisons



                                                                        12
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 14 of 19




                        and ACLU attorneys are interviewed frequently for news stories about
                        documents released through ACLU FOIA requests. 38

                                 Similarly, the ACLU publishes reports about government conduct and
                        civil liberties issues based on its analysis of information derived from various
                        sources, including information obtained from the government through FOIA
                        requests. This material is broadly circulated to the public and widely available to
                        everyone for no cost or, sometimes, for a small fee. ACLU national projects
                        regularly publish and disseminate reports that include a description and analysis
                        of government documents obtained through FOIA requests. 39 The ACLU also
                        regularly publishes books, “know your rights” materials, fact sheets, and

                        Documents on Approval of CIA Torture Site (Apr. 14 2016), https://www.aclu.org/news/aclu-
                        sues-bureau-prisons-documents-approval-cia-torture-site.
                             38
                                See, e.g., Charlie Savage, N.S.A. Gathered Domestic Calling Records It Had No Authority
AMERICAN CIVIL
LIBERTIES UNION         to Collect, N.Y. Times, June 26, 2019, https://www.nytimes.com/2019/06/26/us/telecom-nsa-
FOUNDATION              domestic-calling-records.html (quoting ACLU attorney Patrick Toomey); Rachel Frazin, ACLU
                        Sues FBI Over Black Activist Surveillance Records, Hill, Mar. 21, 2019,
                        https://thehill.com/policy/national-security/fbi/435143-fbi-sued-over-black-activist-surveillance-
                        records (quoting ACLU attorney Nusrat Choudhury); Cora Currier, TSA’s Own Files Show
                        Doubtful Science Behind Its Behavioral Screen Program, Intercept, Feb. 8, 2017,
                        https://theintercept.com/2017/02/08/tsas-own-files-show-doubtful-science-behind-its-behavior-
                        screening-program (quoting ACLU attorney Hugh Handeyside); Larry Neumeister, Judge Scolds
                        Government over Iraq Detainee Abuse Pictures, The Associated Press, Jan. 18, 2017,
                        https://www.apnews.com/865c32eebf4d457499c017eb837b34dc (quoting ACLU project
                        director Hina Shamsi); Karen DeYoung, Newly Declassified Document Sheds Light on How
                        President Approves Drone Strikes, Wash. Post, Aug. 6, 2016, http://wapo.st/2jy62cW (quoting
                        former ACLU deputy legal director Jameel Jaffer); Catherine Thorbecke, What Newly Released
                        CIA Documents Reveal About ‘Torture’ in Its Former Detention Program, ABC, June 15, 2016,
                        http://abcn.ws/2jy40d3 (quoting ACLU attorney Dror Ladin); Nicky Woolf, US Marshals Spent
                        $10M on Equipment for Warrantless Stingray Device, Guardian, Mar. 17, 2016,
                        https://www.theguardian.com/world/2016/mar/17/us-marshals-stingray-surveillance-airborne
                        (quoting ACLU attorney Nathan Freed Wessler); David Welna, Government Suspected of
                        Wanting CIA Torture Report to Remain Secret, NPR, Dec. 9, 2015, http://n.pr/2jy2p71 (quoting
                        ACLU project director Hina Shamsi).
                             39
                                See, e.g., ACLU, Bad Trip: Debunking the TSA’s ‘Behavior Detection’ Program (2017),
                        https://www.aclu.org/sites/default/files/field_document/dem17-tsa_detection_report-v02.pdf;
                        Carl Takei, ACLU-Obtained Emails Prove that the Federal Bureau of Prisons Covered Up Its
                        Visit to the CIA’s Torture Site (Nov. 22, 2016), https://www.aclu.org/blog/speak-freely/aclu-
                        obtained-emails-prove-federal-bureau-prisons-covered-its-visit-cias-torture; Brett Max
                        Kaufman, Details Abound in Drone ‘Playbook’ – Except for the Ones That Really Matter Most
                        (Aug. 8, 2016), https://www.aclu.org/blog/speak-freely/details-abound-drone-playbook-except-
                        ones-really-matter-most; ACLU, Leaving Girls Behind: An Analysis of Washington D.C.’s
                        “Empowering Males of Color” Initiative (2016), https://www.aclu.org/report/leaving-girls-
                        behind; Nathan Freed Wessler, ACLU-Obtained Documents Reveal Breadth of Secretive
                        Stingray Use in Florida (Feb. 22, 2015), https://www.aclu.org/blog/free-future/aclu-obtained-
                        documents-reveal-breadth-secretive-stingray-use-florida; Nathan Freed Wessler, FBI Documents
                        Reveal New Information on Baltimore Surveillance Flights (Oct. 30, 2015), https://www.aclu.
                        org/blog/free-future/fbi-documents-reveal-new-information-baltimore-surveillance-flights;
                        Ashley Gorski, New NSA Documents Shine More Light into Black Box of Executive Order 12333
                        (Oct. 30, 2014), https://www.aclu.org/blog/new-nsa-documents-shine-more-light-black-box-
                        executive-order-12333.



                                                                         13
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 15 of 19




                        educational brochures and pamphlets designed to educate the public about civil
                        liberties issues and government policies that implicate civil rights and liberties.

                                The ACLU publishes a widely read blog where original editorial content
                        reporting on and analyzing civil rights and civil liberties news is posted daily.
                        See https://www.aclu.org/blog. The ACLU creates and disseminates original
                        editorial and educational content on civil rights and civil liberties news through
                        multi-media projects, including videos, podcasts, and interactive features. See
                        https://www.aclu.org/multimedia. The ACLU also publishes, analyzes, and
                        disseminates information through its heavily visited website, www.aclu.org. The
                        website addresses civil rights and civil liberties issues in depth, provides features
                        on civil rights and civil liberties issues in the news, and contains many
                        thousands of documents relating to the issues on which the ACLU is focused.
                        The ACLU’s website also serves as a clearinghouse for news about ACLU
                        cases, including analysis about case developments and an archive of case-related
AMERICAN CIVIL
LIBERTIES UNION         documents. Through these pages, and with respect to each specific civil liberties
FOUNDATION              issue, the ACLU provides the public with educational material, recent news,
                        analyses of relevant congressional or executive branch action, government
                        documents obtained through FOIA requests, and further in-depth analytic and
                        educational multi-media features. 40

                               The ACLU website includes many features on information obtained
                        through the FOIA. The ACLU maintains an online “Torture Database,” a
                        compilation of over 100,000 pages of FOIA documents that allows researchers
                        and the public to conduct sophisticated searches of its contents relating to


                            40
                                See, e.g., ACLU v. ODNI—FOIA Lawsuit Seeking Records About Government
                        Surveillance Under the USA Freedom Act, ACLU Case Page, https://www.aclu.org/cases/aclu-
                        v-odni-foia-lawsuit-seeking-records-about-government-surveillance-under-usa-freedom-act;
                        ACLU v. DOJ—FOIA Lawsuit Seeking Information on Federal Agencies’ Surveillance of Social
                        Media, ACLU Case Page, https://www.aclu.org/cases/aclu-v-doj-foia-lawsuit-seeking-
                        information-federal-agencies-surveillance-social-media; ACLU v. DOJ—FOIA Case for Records
                        Relating to Targeted Killing Law, Policy, and Casualties, ACLU Case Page,
                        https://www.aclu.org/cases/aclu-v-doj-foia-case-records-relating-targeted-killing-law-policy-
                        and-casualties; Executive Order 12,333—FOIA Lawsuit, ACLU Case Page,
                        https://www.aclu.org/cases/executive-order-12333-foia-lawsuit; ACLU Motions Requesting
                        Public Access to FISA Court Rulings on Government Surveillance, ACLU Case Page,
                        https://www.aclu.org/cases/aclu-motions-requesting-public-access-fisa-court-rulings-
                        government-surveillance; ACLU v. DOJ—FOIA Lawsuit Demanding OLC Opinion “Common
                        Commercial Service Agreements, ACLU Case Page, https://www.aclu.org/cases/aclu-v-doj-foia-
                        lawsuit-demanding-olc-opinion-common-commercial-service-agreements; FOIA Request for
                        Justice Department Policy Memos on GPS Location Tracking, ACLU Case Page, https://www.
                        aclu.org/cases/foia-request-justice-department-policy-memos-gps-location-tracking; Florida
                        Stingray FOIA, ACLU Case Page, https://www.aclu.org/cases/florida-stingray-foia; Nathan
                        Freed Wessler, ACLU-Obtained Documents Reveal Breadth of Secretive Stingray Use in
                        Florida, (Feb. 22, 2015) https://www.aclu.org/blog/free-future/aclu-obtained-documents-reveal-
                        breadth-secretive-stingray-use-florida?redirect=blog/national-security-technology-and-
                        liberty/aclu-obtained-documents-reveal-breadth-secretive-sting.



                                                                       14
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 16 of 19




                        government policies on rendition, detention, and interrogation. 41 The ACLU has
                        also published a number of charts and explanatory materials that collect,
                        summarize, and analyze information it has obtained through the FOIA. 42

                               The ACLU plans to analyze, publish, and disseminate to the public the
                        information gathered through this Request. The records requested are not sought
                        for commercial use and the Requesters plan to disseminate the information
                        disclosed as a result of this Request to the public at no cost.

                        B.        The records sought are urgently needed to inform the public about
                                  actual or alleged government activity.

                                These records are urgently needed to inform the public about actual or
                        alleged government activity. See 5 U.S.C. § 552(a)(6)(E)(v)(II). Specifically,
                        they pertain to the Trump Administration’s response to the risk of COVID-19
AMERICAN CIVIL
LIBERTIES UNION         infecting and killing people living and working in the detention facilities it
FOUNDATION              administers throughout the United States. As discussed in Part I, supra, this
                        issue is the subject of widespread public controversy and media attention. The
                        records sought relate to a matter of widespread and exceptional media interest in
                        the COVID pandemic.

                                Further underscoring the urgency of informing the public about the issue
                        in this Request is the strong media interest in what little has been revealed
                        publicly about that conduct. Given this media interest and the lack of public
                        information about the basis and need for the information at issue, there is an
                        urgent need to inform the public about the response to the COVID pandemic
                        inside of federal detention facilities. Expedited processing is therefore
                        appropriate under 5 U.S.C. § 552(a)(6)(E).

                                           V. Application for Waiver or Limitation of Fees

                                The ACLU requests a waiver of document search, review, and
                        duplication fees on the grounds that disclosure of the requested records is in the
                        public interest and because disclosure is “likely to contribute significantly to
                        public understanding of the operations or activities of the government and is not

                             41
                                The Torture Database, ACLU Database, https://www.thetorturedatabase.org; see also
                        Countering Violent Extremism FOIA Database, ACLU Database, https://www.aclu.org/foia-
                        collection/cve-foia-documents; TSA Behavior Detection FOIA Database, ACLU Database,
                        https://www.aclu.org/foia-collection/tsa-behavior-detection-foia-database; Targeted Killing
                        FOIA Database, ACLU Database, https://www.aclu.org/foia-collection/targeted-killing-foia-
                        database.
                             42
                                Index of Bush-Era OLC Memoranda Relating to Interrogation, Detention, Rendition
                        and/or Surveillance, ACLU (Mar. 5, 2009), https://www.aclu.org/sites/default/files/pdfs/
                        safefree/olcmemos_2009_0305.pdf; Summary of FISA Amendments Act FOIA Documents
                        Released on November 29, 2010, ACLU (Nov. 29, 2010), https://www.aclu.org/files/pdfs/
                        natsec/faafoia 20101129/20101129Summary.pdf; Statistics on NSL’s Produced by Department
                        of Defense, ACLU, https://www.aclu.org/sites/default/files/field_document/nsl_stats.pdf.

                                                                       15
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 17 of 19




                        primarily in the commercial interest of the requester.” 5 U.S.C.
                        § 552(a)(4)(A)(iii). The ACLU also requests a waiver of search fees on the
                        grounds that the ACLU qualifies as a “representative of the news media” and the
                        records are not sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II).

                        A.     The Request is likely to contribute significantly to public understanding
                               of the operations or activities of the government and is not primarily in
                               the commercial interest of the ACLU.

                                As discussed above, this Request concerns the response to the COVID
                        pandemic inside of federal detention facilities. Insufficient information is
                        publicly available regarding the issue in this Request, so the records sought are
                        certain to contribute significantly to the public’s understanding of
                        the response to the COVID pandemic inside of federal detention facilities, with
                        regarding to people living and working in these facilities, and those living in the
AMERICAN CIVIL
LIBERTIES UNION         surrounding communities.
FOUNDATION

                               The ACLU is not filing this Request to further its commercial interest.
                        As described above, any information disclosed by the ACLU as a result of this
                        FOIA Request will be available to the public at no cost. Thus, a fee waiver
                        would fulfill Congress’s legislative intent in amending FOIA. See Judicial
                        Watch, Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003) (“Congress
                        amended FOIA to ensure that it be liberally construed in favor of waivers for
                        noncommercial requesters.” (quotation marks omitted)).

                        B.     The ACLU is a representative of the news media and the records are not
                               sought for commercial use.

                                The ACLU also requests a waiver of search fees on the grounds that the
                        ACLU qualifies as a “representative of the news media” and the records are not
                        sought for commercial use. 5 U.S.C. § 552(a)(4)(A)(ii)(II). The ACLU meets the
                        statutory and regulatory definitions of a “representative of the news media”
                        because it is an “entity that gathers information of potential interest to a segment
                        of the public, uses its editorial skills to turn the raw materials into a distinct
                        work, and distributes that work to an audience.” 5 U.S.C. § 552(a)(4)(A)(ii)(III);
                        see also Nat’l Sec. Archive v. Dep’t of Defense, 880 F.2d 1381, 1387 (D.C. Cir.
                        1989) (finding that an organization that gathers information, exercises editorial
                        discretion in selecting and organizing documents, “devises indices and finding
                        aids,” and “distributes the resulting work to the public” is a “representative of
                        the news media” for purposes of the FOIA); Serv. Women’s Action Network v.
                        Dep’t of Defense, 888 F. Supp. 2d 282 (D. Conn. 2012) (requesters, including
                        ACLU, were representatives of the news media and thus qualified for fee
                        waivers for FOIA requests to the Department of Defense and Department of
                        Veterans Affairs); ACLU of Wash. v. Dep’t of Justice, No. C09–0642RSL, 2011
                        WL 887731, at *10 (W.D. Wash. Mar. 10, 2011) (finding that the ACLU of
                        Washington is an entity that “gathers information of potential interest to a


                                                                  16
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 18 of 19




                        segment of the public, uses its editorial skills to turn the raw materials into a
                        distinct work, and distributes that work to an audience”); ACLU, 321 F. Supp.
                        2d at 30 n.5 (finding non-profit public interest group to be “primarily engaged in
                        disseminating information”). The ACLU is therefore a “representative of the
                        news media” for the same reasons it is “primarily engaged in the dissemination
                        of information.”

                                Furthermore, courts have found other organizations whose mission,
                        function, publishing, and public education activities are similar in kind to the
                        ACLU’s to be “representatives of the news media” as well. See, e.g., Cause of
                        Action v. IRS, 125 F. Supp. 3d 145 (D.C. Cir. 2015); Elec. Privacy Info. Ctr.,
                        241 F. Supp. 2d at 10–15 (finding non-profit public interest group that
                        disseminated an electronic newsletter and published books was a “representative
                        of the news media” for purposes of the FOIA); Nat’l Sec. Archive, 880 F.2d at
                        1387; Judicial Watch, Inc. v. Dep’t of Justice, 133 F. Supp. 2d 52, 53–54
AMERICAN CIVIL
LIBERTIES UNION         (D.D.C. 2000) (finding Judicial Watch, self-described as a “public interest law
FOUNDATION              firm,” a news media requester). 43

                               On account of these factors, fees associated with responding to FOIA
                        requests are regularly waived for the ACLU as a “representative of the news
                        media.” 44 As was true in those instances, the ACLU meets the requirements for
                        a fee waiver here.
                                                         *       *      *


                            43
                                Courts have found these organizations to be “representatives of the news media” even
                        though they engage in litigation and lobbying activities beyond their dissemination of
                        information and public education activities. See, e.g., Elec. Privacy Info. Ctr., 241 F. Supp. 2d 5;
                        Nat’l Sec. Archive, 880 F.2d at 1387; see also Leadership Conference on Civil Rights, 404 F.
                        Supp. 2d at 260; Judicial Watch, Inc., 133 F. Supp. 2d at 53–54.
                             44
                                The ACLU regularly receives FOIA fee waivers from federal agencies. For example, in
                        June 2018, the U.S. Citizenship and Immigration Services granted a fee-waiver request
                        regarding a FOIA request for documents relating to the use of social media surveillance. In
                        August 2017, CBP granted a fee-waiver request regarding a FOIA request for records relating to
                        a muster sent by CBP in April 2017. In June 2017, the Department of Defense granted a fee-
                        waiver request regarding a FOIA request for records pertaining to the authorities approved by
                        President Trump in March 2017 which allowed U.S. involvement in Somalia. In June 2017, the
                        Department of Defense, the CIA, and the Office of Inspector General granted fee-wavier
                        requests regarding a FOIA request for records pertaining to U.S. involvement in the torture of
                        detainees in prisons in Yemen, Eritrea, and aboard Yemeni or Emirati naval vessels. In May
                        2017, CBP granted a fee-waiver request regarding a FOIA request for documents related to
                        electronic device searches at the border. In April 2017, the CIA and the Department of State
                        granted fee-waiver requests in relation to a FOIA request for records related to the legal
                        authority for the use of military force in Syria. In March 2017, the Department of Defense Office
                        of Inspector General, the CIA, and the Department of State granted fee-waiver requests
                        regarding a FOIA request for documents related to the January 29, 2017 raid in al Ghayil,
                        Yemen. In June 2016, the Office of the Director of National Intelligence granted a fee-waiver
                        request regarding a FOIA request related to policies and communications with social media
                        companies’ removal of “extremist” content. In May 2016, the FBI granted a fee-waiver request
                        regarding a FOIA request issued to the Department of Justice for documents related to
                        Countering Violent Extremism Programs.

                                                                          17
                  Case 1:20-cv-03031-RCL Document 1-2 Filed 10/21/20 Page 19 of 19




                               Pursuant to applicable statutes and regulations, the ACLU expects a
                        determination regarding expedited processing within 10 days. See 5 U.S.C.
                        § 552(a)(6)(E)(ii).

                                If the Request is denied in whole or in part, the ACLU asks that you
                        justify all deletions by reference to specific exemptions to FOIA. The ACLU
                        expects the release of all segregable portions of otherwise exempt material. The
                        ACLU reserves the right to appeal a decision to withhold any information or
                        deny a waiver of fees.

                               Thank you for your prompt attention to this matter. Please furnish the
                        applicable records to:

                               Taylor Pendergrass
AMERICAN CIVIL
LIBERTIES UNION                American Civil Liberties Union
FOUNDATION                     125 Broad Street, 18th Floor
                               New York, New York 10004
                               T: 212.549.2500
                               F: 212.549.2654
                               COVID_FOIA@aclu.org

                               I affirm that the information provided supporting the request for
                        expedited processing is true and correct to the best of my knowledge and belief.
                        See 5 U.S.C. § 552(a)(6)(E)(vi).

                                                             Sincerely,




                                                             Taylor Pendergrass, Esq.
                                                             Somil Trivedi, Esq.
                                                             Nicole Fortier, Esq
                                                             American Civil Liberties Union
                                                                Foundation
                                                             125 Broad Street, 18th Floor
                                                             New York, New York 10004
                                                             T: 212.549.2500
                                                             F: 212.549.2654
                                                             Cell: 303-817-9502
                                                             COVID_FOIA@aclu.org




                                                                 18
